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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE:                                        :
         Jami Lemerise                        :      Chapter 13
                                              :
                                              :
         Debtor                               :      Case No.:     20-10885ELF



  ORDER GRANTING DEBTOR’S MOTION TO IMPOSE THE AUTOMATIC STAY
                 PERSUANT TO 11 U.S.C. § 362(c)(4)(b)


                        3rd day of __________,
      AND NOW, this ______               April     2020 upon consideration of the Debtor's
Motion to Impose the Automatic Stay, it is hereby;


       ORDERED that the Motion is GRANTED and that the automatic stay is imposed
pursuant to11 U.S.C. § 362(c)(4)(b) as to all creditors served with the Debtor's Motion;


       It is further ORDERED that if the Debtor falls into arrears on either her monthly
Chapter 13 Plan Payment, or on going mortgage payments, that Creditor M&T Bank
(“Mortgagee”), may file a certification of default of this Order with the Court after giving the
Debtor notice of the default and 14 days to cure. If a Certification of Default is filed, Mortgagee
may be granted Relief of the Stay as to them without further hearing.




                                        ______________________________________
                                         ERIC L. FRANK
                                         U.S. BANKRUPTCY JUDGE
